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NOTICE OF APPEAL | 7 ORIGIN AL

a “aman:

 

UNITED STATES DISTRICT COURT
FOR THE

, EAQerN _ DISTRICT or New Nor K
Adele, Sammayeo
VS

NOTICE OF APPEAL
Newyor K+ 04-OV-OLA29

Docket No.

 

Notice is hereby given that de! C Sam Mar Ce
(party)

"hereby appeals to the United States Court of Appeals for the Second Circuit from the

   

decision (describe it)

, ° i é
~ entered in this action on the Qi day of April 2012.

Signatu re

Printed Name

Lp Mohawk Drive

Address

Modwwan, WS. 07747

 

 

 

 

 

 
